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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           UNITED STATES OF AMERICA )
                                    )                     CRIMINAL ACTION FILE
                v.                  )
                                    )                     NO. 1:10-CR-521-TCB-AJB-02
           OTIS HENRY,              )
                                    )
                        Defendant.  )

                              UNITED STATES MAGISTRATE JUDGE’S
                             FINAL REPORT AND RECOMMENDATION

                 In my previous Report and Recommendation, I noted that at the evidentiary

           hearing, I inadvertently had failed to list as a topic to be briefed by the government the

           issues related to Henry’s consent to search Room 125 of the Wingate Inn in Tampa,

           Florida, on January 23, 2012. [Doc. 699 at 35]. Thus, the government was directed to

           file a brief. [Id.]. The government has since filed a brief, [Doc. 708], and Henry has

           responded. [Doc. 738]. After consideration of the record and the parties’ briefs

           (including Henry’s initial arguments on the issues), I RECOMMEND that Henry’s

           motion to suppress related to the search of Room 125 at the Wingate Inn, [Doc. 508],

           be DENIED.




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                 Facts

                 These are the facts I found from the evidentiary hearing and set out in the earlier

           R&R, with additional references to the record. After the October 1, 2010, execution

           of a search warrant at 1855 8th Street, Chamblee, Georgia, Henry was a fugitive.

           [Doc. 587 (hereinafter “T__”) at 157]. Shortly before January 23, 2012, federal law

           enforcement agents received information that Henry was in the Tampa, Florida, area,

           specifically at the Wingate Inn near the University of South Florida. T158. DEA Task

           Force Officer T.K. Gordon saw Henry inside a FedEx-Kinko’s store across the street

           from the motel, and law enforcement officers arrested him. T160. In a search incident

           to his arrest, identification in the name of “Wesley Johnson” was retrieved from

           Henry’s wallet. T160. A cellular telephone also was seized from his person, which

           was searched for Henry’s contacts and missed calls. T164, 177.

                 Numerous officers were involved in the surveillance and arrest, and all of them

           were armed and wearing plain clothes with vests containing police markings. None of

           the agents drew a firearm during the arrest. T162, 178.

                 Once Henry was taken out of the store, he complained that the handcuffs were

           too tight. T166. As Henry was placed in leg irons and a belly chain, with his hands

           cuffed to the front, T166, he was told by Gordon that if he ran, he would be Tasered.

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           T208. Henry was asked where he was staying, and he replied Room 125 at the

           Wingate. The agents placed him in a U.S. Marshal SUV and began transporting him

           the short distance across the multi-lane road to the motel. T166, 185. Gordon asked

           him if there were any other persons in his room, or other items that might hurt police,

           or drugs, and he replied that there were just two pounds of marijuana in a suitcase in

           the room. T167, 185-86, 198, 204.1 Gordon told him to wait before he said anything

           else, and after they arrived at the motel and while they stood behind the SUV in the

           motel parking lot, Gordon read Henry the Miranda rights from a DEA-13A card.

           T167-68; Govt. Ex. 3.2 Henry responded by asking what he needed to do to cooperate.


                 1
                        The District Judge adopted my prior R&R recommending that this
           statement be excluded from the government’s case in chief since it was obtained in
           violation of Henry’s Miranda rights. [See Doc. 726 at 8].
                 2
                        The form provided:

                 Before we ask you any questions, you must understand:

                 -You have the right to remain silent.

                 -Anything you say can be used against you in court.

                 -You have the right to talk to a lawyer for advice before we ask you any
                 questions and to have a lawyer with you during questioning.

                 -If you cannot afford a lawyer, one will be appointed for you before any
                 questioning if you wish.

                                                     3


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           T189. Gordon asked him if he wanted to call his girlfriend, Sara Scott, and Henry

           wanted to know if she was in trouble. T198-99.3 Gordon replied that she was not, but

           that her situation had nothing to do with Henry’s actions. T200-01, 209. Gordon called

           Sara Scott from his cell phone, and Henry spoke to her and told her he was in custody.

           T174, 199.

                 Henry was cooperative and calm. T163,170. He asked for and was allowed to

           smoke a cigarette, which appeared to further calm him. T170, 172. He did not appear

           to be under the influence of drugs or alcohol. T171.

                 Within a few minutes of advising Henry of his Miranda rights, Gordon asked

           him if he would consent to a search of the room, and Henry orally agreed to let the

           officers search his hotel room. T169, 175, 190. Gordon had told Henry that if he did

           not consent, he (Gordon) would apply for a warrant. T191. Henry replied that he was

           in enough trouble already in that he already told them the marijuana was in the room,



                 Do you understand?

                 Are you willing to answer some questions?

           Govt. Ex. 3.
                 3
                        Scott also was the lessee of the Chamblee premises.            T17, 18;
           Def. Exs. 6-8.

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           so he agreed to the search. T169. As Gordon read the written DEA consent-to-search

           form, Govt. Ex. 4,4 Henry appeared to read along. T171, 172. Henry was sitting on the

           stairs of the motel at the time. T172. Henry asked what kind of sentence he could

                 4
                        The Consent to Search form, Gov’t Ex. 4, provided as follows:

                                                          CONSENT TO SEARCH

                 1.     I HAVE BEEN ASKED TO PERMIT SPECIAL
                        AGENTS OF THE DRUG ENFORCEMENT
                        ADMINISTRATION TO SEARCH: (Describe the
                        person, places or things to be searched.)

                        WINGATE INN Located @ Intersection of
                        Fowler
                        Room 125
                        Tampa, Florida
                        (3751 E. Fowler, Tampa, FL)

                 2.     I HAVE NOT BEEN THREATENED, NOR
                        FORCED IN ANY WAY.

                 3.     I FREELY CONSENT TO THIS SEARCH.


                         1/23/12            (undecipherable) OTIS HENRY
                        Date                Signature

                                     Witnesses:     S/ T.K. Gordon

                                                    (undecipherable)

           Gov’t Ex. 4 (handwriting in italics).

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           receive, and Gordon advised him that it was up to the judge; this was confirmed during

           a conversation over the speaker of Gordon’s cell phone that Henry had with the AUSA

           in charge of the case. T171. Henry signed the form, but because his signature was

           illegible, Gordon asked him to print his name, and after a conversation about which

           name he should put on the form (his real name or the alias he used to register at the

           motel), Henry ultimately wrote “Otis.” T173. He later wrote “Henry.” T193. Gordon

           gave the go-ahead to other officers to search the room upon Henry’s placing his

           indecipherable signature on the consent-to-search form. T175, 193.5 A suitcase with

           marijuana and approximately $3000 in cash were located in the room. T175. Henry

           did not revoke his consent at any time that day. T176.

                 Contentions of the Parties

                 In his initial post-evidentiary hearing brief, [Doc. 671], Henry argues that his

           consent to search was not voluntary. He contends he was coaxed into admitting that

           there was marijuana in the room when he was questioned about the room without


                 5
                         There were no items in the room bearing Henry’s name. T99. However,
           Henry possessed a magnetic plastic key to that room and told the officers he was
           staying there. T111. Also, the room was registered in a known alias of Henry, “Wesley
           Johnson.” Def. Ex. 13. In the previous R&R, I concluded that these facts gave Henry
           a sufficient legitimate expectation of privacy to challenge the search of the motel
           room. [Doc. 699 at 26 n.12].

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           benefit of Miranda warnings. [Id. at 27]. He further contends that after admitting this

           fact, he was told by Gordon that agents inevitably would search the room and that his

           signature on the form was a mere formality, since once Henry admitted to the presence

           of marijuana in the room, Gordon believed he would get a warrant if Henry did not sign

           the form in his true name. [Id.]. Henry also alleges that the discussion of his potential

           cooperation diminished the voluntariness of any consent because even without

           expressed promises, “the circumstances nevertheless implied that Henry would fare

           better if he allowed the officers to search.” [Id.]. Henry contends that the pressure he

           felt was demonstrated by his printing of his true name on the form although the

           evidence shows he did not want to, and as a result of the “trickery, coercion and

           inherent pressure associated with Gordon’s acquisition of consent,” any consent was

           involuntarily obtained. [Id. at 27-28].

                 The government contends in its response that Henry’s consent was freely and

           voluntarily given and was not the product of the trickery, coercion, and inherent

           pressure, as Henry alleges. [Doc. 708 at 6]. Although Henry was in custody and his

           admission that marijuana was secreted in the room was obtained before he was read his

           Miranda rights, the government contends that this statement was not coaxed out of him

           and was immediately followed by Gordon’s admonition not to say anything else until

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           he was read his rights. [Id. (citing T167)]. The government further claims that Henry’s

           statement that he already was in enough trouble and did not want to make things worse

           is a neutral factor that does not point to a conclusion of involuntariness. [Id.].

                 The government then contends that all of the other factors weigh in favor of

           voluntary consent. It argues that Henry had sufficient education in that he appeared to

           follow along with Gordon as Gordon read the consent-to-search form to him. He also

           was cooperative, asked about cooperating with authorities as soon as he was read his

           Miranda rights, and discussed cooperating with the AUSA. [Id. at 9]. In addition, the

           agents attempted to make Henry more comfortable by adjusting his restraints, removing

           him from public view, and allowing him to smoke a cigarette. [Id.]. The government

           also notes that Henry was advised that he did not have to talk and that he was allowed

           to speak with his girlfriend. [Id.]. It argues that Henry’s hesitancy in signing his name

           was not a result of his unwillingness to consent, but rather due to confusion over which

           name he should use. [Id. at 9-10].

                 In reply, Henry argues that his consent to search was unlawfully tainted by the

           earlier Miranda violation in which he admitted that he had marijuana stored in his hotel

           room. He analogizes the present case to cases where a Fourth Amendment violation

           was found to taint a subsequent consent to search, [Doc. 738 at 10-13 (citing United

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           States v. Santa, 236 F.3d 662, 676-77 (11th Cir. 2000); Brown v. Illinois, 422 U.S. 590,

           591-96, 597 (1975))]. He contends that Gordon’s un-Mirandized questioning as to

           where he was staying and whether he had any contraband in the room “strongly smacks

           of deliberateness,” [Doc. 738 at 13 (citing United States v. Seibert, 542 U.S. 600

           (2004))], because, he contends, once Henry was arrested, Gordon’s mission was

           completed but his true goal was to search the hotel room. Henry argues that is why he

           was transported back to the hotel instead of to the federal courthouse and was asked

           pre-Miranda questions about the contents of his hotel room.6 [Id.]. Henry also faults

           Gordon for imbedding the question about drugs into a question about items that may

           harm officers entering his hotel room. [Id. at 13-14].

                 Henry then claims that (1) having admitted to possessing marijuana in an

           un-Mirandized statement; (2) being Mirandized without being advised that his prior

           statement was improperly obtained; (3) then discussing the benefits of his cooperation

           without the specific benefits of cooperation being disclosed; (4) then being asked to

           consent to search; and (5) Gordon telling him it did not matter whether he signed the

           form or not because the agents would apply for a search warrant, vitiated any incentive


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                        Gordon testified that he asked this question of all arrestees.        [See
           Doc. 738 at 13].

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           on Henry’s part to avoid incrimination through the seizure of marijuana from the room,

           and thus the consent was not voluntary. [Id. at 14-15].

                 Discussion

                 “In order for consent to a search to be deemed voluntary, it must be the product

           of an essentially free and unconstrained choice.”            United States v. Garcia,

           890 F.2d 355, 360 (11th Cir. 1989); see also United States v. Watson, 423 U.S. 411, 424

           (1976) (describing inquiry as whether person’s consent was “his own ‘essentially free

           and unconstrained choice’ ” or was his “ ‘will . . . overborne and his capacity for

           self-determination critically impaired.”) (quoting Schneckloth v. Bustamonte,

           412 U.S. 218, 225 (1973)). In considering whether a consent to search was voluntary,

           the Court must examine the totality of the circumstances. United States v. Acosta,

           363 F.3d 1141, 1151 (11th Cir. 2004); United States v. Tovar-Rico, 61 F.3d 1529, 1535

           (11th Cir. 1995); see also United States v. Gonzalez, 71 F.3d 819, 828-32

           (11th Cir. 1996), overruled on other grounds by Arizona v. Gant, 556 U.S. 332 (2009)

           (illustrating factors properly to be considered in totality-of-the-circumstances inquiry).

           Further, “‘[t]he government bears the burden of proving . . . that the consent was not

           a function of acquiescence to a claim of lawful authority but rather was given freely and

           voluntarily.’ ” United States v. Hidalgo, 7 F.3d 1566, 1571 (11th Cir. 1993) (quoting

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           United States v. Blake, 888 F.2d 795, 798 (11th Cir. 1989)). The absence of official

           coercion is a sine qua non of effective consent, as it is axiomatic that “[w]here there is

           coercion, there cannot be consent.” Gonzalez, 71 F.3d at 828 (quoting Bumper v. North

           Carolina, 391 U.S. 543, 550 (1968)); see also Florida v. Bostick, 501 U.S. 429, 438

           (1991) (“ ‘Consent’ that is the product of official intimidation . . . is not consent at

           all.”).

                     The Eleventh Circuit has, on prior occasions, identified a non-exhaustive list of

           relevant factors to consider when making the assessment of whether consent to a

           warrantless search is voluntary: voluntariness of the defendant’s custodial status, the

           presence of coercive police procedures, the extent and level of the defendant’s

           cooperation with police, the defendant’s awareness of his right to refuse to consent to

           the search, the defendant’s education and intelligence, and, significantly, the

           defendant’s belief that no incriminating evidence will be found.                    Blake,

           888 F.2d at 798-99; see also United States v. Mendenhall, 446 U.S. 544, 557 (1980)

           (holding that whether consent was “in fact voluntary or a product of express or implied

           duress or coercion is to be determined by the totality of the circumstances”). However,

           the failure to advise the defendant of his right to refuse to consent will not invalidate




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           an otherwise valid consent to search. United States v. Pineiro, 389 F.3d 1359, 1366 n.4

           (11th Cir. 2004); United States v. Zapata, 180 F.3d 1237, 1242 (11th Cir. 1999).

                 First, although Henry was in custody, a degree of duress is present in any arrest.

           The question is whether the officers used coercive tactics or took unlawful advantage

           of the arrest situation to obtain the consent. United States v. Jones, 475 F.2d 723, 730

           (5th Cir. 1973)7; see also United States v. Smith, 199 Fed. Appx. 759, 763

           (11th Cir. Sept. 15, 2006) (quoting Jones, id.). While following the arrest Gordon

           advised Henry that if he ran while they switched out the handcuffs, he would be

           Tasered, this statement was unrelated to any request for consent to search and before

           Henry and the agents left the scene of arrest. Following his arrest, Henry was

           transported to the motel, Mirandized, allowed to sit outside the vehicle and smoke a

           cigarette, speak with his girlfriend, and discuss cooperation with Gordon and the

           AUSA. In short, there is no evidence that the Taser statement coerced Henry into

           consenting to a search of his motel room or overbore his will to refuse the request to

           consent.




                 7
                        In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981)
           (en banc), the Eleventh Circuit adopted as binding precedent all of the decisions of the
           former Fifth Circuit handed down prior to the close of business on September 30, 1981.

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                 Second, the evidence shows that Henry was cooperative with the police, and as

           noted in the preceding paragraph, had conversations with Gordon and the AUSA about

           cooperating with their investigation.

                 Third, although the record does not contain any information about Henry’s

           education and intellectual functioning, there was no dispute that he appeared to read

           along with Gordon while being read the consent-to-search form.

                 Fourth, Henry was not told that he had a right to refuse consent, so this factor,

           although not determinative, points towards a finding of involuntariness.

                 Fifth, obviously this is not a case where the suspect did not believe that the police

           could locate any contraband in his motel room, and thus would be more likely to

           consent to a search. However, I am unaware of any case that holds that just because a

           person knows there is evidence of crime on the premises sought to be searched by

           consent, the consent was found to be involuntary. In this case, this factor is simply not

           applicable.

                 As to coercive police procedures, Henry argues that the Miranda violation

           coerced him into consenting because he knew he already had admitted that the

           marijuana was in his room. I reject this argument. While his admission that there was

           marijuana in his motel room was obtained without the benefit of Miranda warnings and

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           thus is excludable from his trial, the statement was otherwise voluntarily made, and

           while he might have thought he had no choice to consent, he was not coerced by the

           agents to consent just because he already told them about the marijuana. A Miranda

           violation does not preclude a voluntary consent to search. In Hidalgo, the Eleventh

           Circuit held that a defendant’s consent was voluntary even after he invoked his Fifth

           Amendment rights against self-incrimination, because consent to search is not an

           incriminating statement. Hidalgo, 7 F.3d at 1568; see Oregon v. Elstad, 470 U.S. 298,

           307 (1985) (“But the Miranda presumption, though irrebuttable for purposes of the

           prosecution’s case in chief, does not require that the statements and their fruits be

           discarded as inherently tainted.”); see also Dickerson v. United States, 530 U.S. 428,

           441 (2000) (explaining that “unreasonable searches under the Fourth Amendment are

           different from unwarned interrogation under the Fifth Amendment”).

                 Henry’s argument is based upon the incorrect legal assumption that suppression

           of the marijuana flows directly from the Miranda violation. The cases he relies upon

           concern the Fourth Amendment, and thus are not instructive in determining the

           remedial scope for a Fifth Amendment violation. On the other hand, Miranda does not

           require the exclusion of physical evidence that is discovered on the basis of a voluntary,

           although unwarned, statement. United States v. Patane, 542 U.S. 630, 645 (2004)

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           (Kennedy, J., concurring in the judgment); United States v. Jackson, 506 F.3d 1358,

           1361 (11th Cir. 2007). Henry makes no argument, nor does the evidence support a

           conclusion, that the unwarned statement was not voluntarily obtained, as opposed to

           being acquired only in violation of Miranda.8 Moreover, even if Gordon’s questioning

                 8
                         Similar to the considerations involving a consent to search, the focus of
           inquiry into whether a defendant’s statement was obtained voluntarily is on whether the
           defendant was coerced by the government into making the statement: “The
           relinquishment of the right must have been voluntary in the sense that it was the
           product of a free and deliberate choice rather than intimidation, coercion or deception.”
           Colorado v. Connelly, 479 U.S. 157, 170 (1986) (citation omitted). The Court must
           consider the totality of the circumstances in assessing whether police conduct was
           “causally related” to the confession. Miller v. Dugger, 838 F.2d 1530, 1536
           (11th Cir. 1988). This totality-of-the-circumstances test directs the Court ultimately to
           determine whether a defendant’s statement was the product of “an essentially free and
           unconstrained choice.” United States v. Garcia, 890 F.2d 355, 360 (11th Cir. 1989).
           Among the factors the Court must consider are the defendant’s intelligence, the length
           of his detention, the nature of the interrogation, the use of any physical force against
           him, or the use of any promises or inducements by police. See, e.g.,Schneckloth v.
           Bustamonte, 412 U.S. 218, 226 (1973); Gonzalez, 71 F.3d at 828. However, while the
           Eleventh Circuit has “enumerated a number of (non-exclusive) factors that may bear
           on the issue of voluntariness, the absence of official coercion is a sine qua non of
           effective consent . . . .” Gonzalez, 71 F.3d at 828 (citations omitted). Sufficiently
           coercive conduct normally involves subjecting the accused to an exhaustingly long
           interrogation, the application of physical force or the threat to do so, or the making of
           a promise that induces a confession. See Connelly, 479 U.S. at 163 n.1; Miller,
           838 F.2d at 1536; United States v. Castaneda-Castaneda, 729 F.2d 1360, 1362-63
           (11th Cir. 1984). Isolated incidents of police deception, id.; Frazier v. Cupp,
           394 U.S. 731, 739 (1969); and discussions of realistic penalties for cooperative and
           non-cooperative defendants, see United States v. Mendoza-Cecelia,
           963 F.2d 1467, 1475 (11th Cir. 1992); United States v. Nash, 910 F.2d 749, 753
           (11th Cir. 1990), are normally insufficient to preclude free choice.

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           without first advising Henry of his Miranda rights was a deliberate tactic (although I

           conclude that it was not), a Seibert violation only makes the subsequent but warned

           statement inadmissible, but does not result in suppression of the physical fruits of the

           otherwise voluntary statement. Jackson, 506 F.3d at 1361 (“Seibert held inadmissible

           a statement obtained by interrogation techniques calculated to undermine Miranda

           warnings. [Seibert, 542 U.S. at 617 [ ] (plurality opinion). Patane held that no

           violation of an obligation to warn that produces a voluntary statement is severe enough

           that the deterrence value of suppression outweighs ‘the important probative value of

           reliable physical evidence.’ Patane, 542 U.S. at 645 [ ] (Kennedy, J., concurring in the

           judgment).”). Therefore, Henry’s unwarned statement obtained in violation of Miranda

           did not taint his subsequent voluntary consent to a search of his motel room.




                  In this case, the statement about marijuana in the room was voluntary because
           it was obtained only a few minutes after Henry was arrested; he had not been
           questioned; while in custody his comfort had been attended to by the changing of the
           handcuffs; and he had not been promised any benefit. The Court recognizes that
           Gordon advised Henry that if he ran while they switched out the handcuffs, he would
           be Tasered, but the Court concludes that this statement was unrelated to any statements,
           was made before Henry and the agents left the scene of arrest (while the statement
           about the marijuana appears to have been made while inside the Marshal’s SUV), and
           there is no evidence that the atmosphere between Henry and the agents, while obviously
           not pleasant to Henry, was coercive.

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                 Further, Henry’s consent to search was not rendered involuntary by Gordon’s

           statement that if Henry did not consent Gordon would apply for a warrant. Even if

           Gordon had stated that he would get a warrant if Henry did not consent, this would not

           render his consent involuntary; that the police inform a party that they will obtain a

           warrant if the party does not consent to a search does not amount to coercion. Garcia,

           890 F.2d at 361; see also United States v. Racca, 255 Fed. Appx. 367, 369

           (11th Cir. Oct. 18, 2007) (same); United States v. Villanueva-Fabela,

           202 Fed. Appx. 421, 427-28 (11th Cir. Oct. 27, 2006) (same, and explaining difference

           between Garcia, where agents merely stated they would obtain a search warrant and

           consent was found voluntary, and Bumper v. North Carolina, 391 U.S. 543, 548-50

           (1968), where police coerced consent by falsely stating that they already had a search

           warrant, and consent was deemed involuntary because it was obtained by mere

           acquiescence to a claim of lawful authority).

                 Next, while Henry argues that he felt he had no choice but to consent because he

           already told the officers about the marijuana,9 the record does not support a finding that

           the officers in any way expressed or implied that he had no choice but to consent. And

                 9
                        Gordon testified that “right after the consent, right after I asked him for
           consent, that’s when he said, you know, I already told you I’m already in enough
           trouble. I’m already in enough trouble.” T169.

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           while Henry’s subjective beliefs are relevant to the totality of the circumstances to be

           considered, Schneckloth, 412 U.S. at 229 (“In examining all the surrounding

           circumstances to determine if in fact the consent to search was coerced, account must

           be taken of subtly coercive police questions, as well as the possibly vulnerable

           subjective state of the person who consents.”), the critical issue still is official coercion.

           Id.; Hubbard v. Haley, 317 F.3d 1245, 1253 (11th Cir. 2003). There was none in this

           case.

                   Moreover, although Henry tries to link the two, there is no evidence that he was

           advised that consenting to a search of the motel would assist him in his efforts to

           cooperate or that his consent was a condition of his being allowed to cooperate.

                   Finally, although the record is not particularly clear as to how Henry came to

           ultimately print his name on the consent form, it is clear that he verbally consented and

           consented in writing using an illegible signature prior to affixing his printed name on

           the consent to search form.

                   As a result, I find that Henry voluntarily consented to the search of his room at

           the Wingate Inn. Therefore, I RECOMMEND that his motion to suppress the fruits

           of that search be DENIED.




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                   Conclusion

                   For all the reasons stated above, it is RECOMMENDED that Otis Henry’s

           motion to suppress the fruits of the search of his Room 125 at the Wingate Inn in

           Tampa, Florida, as he seeks in his motion to suppress, [Doc. 508], be DENIED.

           Moreover, since there are no other matters pending before me, the Clerk is

           DIRECTED to CERTIFY this case READY FOR TRIAL.

                   IT IS SO RECOMMENDED AND CERTIFIED, this the 6th day of June,

           2013.




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